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 1   SHOOK, HARDY & BACON L.L.P.
     Jennise W. Stubbs
 2   600 Travis Street, Suite 3400
     Houston, TX 77002-2026
 3   Telephone: (713) 227-8008
     Facsimile: (713) 227-9508
 4   Email: jstubbs@shb.com

 5   Attorney for Defendant Monsanto Company

 6
                                  UNITED STATES DISTRICT COURT
 7
                             NORTHERN DISTRICT OF CALIFORNIA
 8
      IN RE: ROUNDUP PRODUCTS                              MDL No. 2741
 9    LIABILITY LITIGATION
                                                           Case No. 3:16-md-02741-VC
10
      This document relates to:
11
      David E. Roberts et al. v. Monsanto Company,
12    Case No. 3:24-cv-02055-VC
13

14        MONSANTO COMPANY'S MONTHLY REPORT IN RESPONSE TO PTO
      NO. 183 RE NON-COMPLIANT LAWSUIT DIRECTLY FILED IN THIS DISTRICT
15
            Pursuant to Pretrial Order No. 183, defendant Monsanto Company hereby submits this
16
     report regarding a lawsuit that: (a) was directly filed in this district last month (April 4, 2024);
17
     and (b) apparently fails to comply with the venue requirements: David E. Roberts and Joyce
18
     Roberts v. Monsanto Company. Plaintiffs allege that they “are and at all relevant times were
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     residents and citizens of San Diego County, California” and, while referring to “this district,”
20
     the Complaint’s venue allegations lack factual content. There are no factual allegations
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     indicating that venue is proper in the Northern District of California rather than the Southern
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     District of California, where the Plaintiffs allege they live and have at all times lived. Compl.,
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     ¶¶ 7–8. Plaintiffs were provided with a copy of Pretrial Order No. 183 but have not agreed to
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     voluntarily dismiss and refile in the proper court.
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            MONSANTO COMPANY’S MONTHLY REPORT IN RESPONSE TO PTO
        NO. 183 RE NON-COMPLIANT LAWSUIT DIRECTLY FILED IN THIS DISTRICT
                         3:16-md-02741-VC & 3:24-cv-02055-VC
       Case 3:16-md-02741-VC Document 18461 Filed 05/31/24 Page 2 of 3



 1   DATED: May 31, 2024        Respectfully submitted,
 2                              SHOOK, HARDY & BACON L.L.P.
 3
                                BY: /s/ Jennise W. Stubbs
 4                                 Jennise W. Stubbs
                                   600 Travis Street, Suite 3400
 5                                 Houston, TX 77002-2926
                                   Telephone: (713) 227-8008
 6                                 Facsimile: (713) 227-9508
 7                                 Email: jstubbs@shb.com

 8                              Attorney for Defendant Monsanto Company

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           MONSANTO COMPANY’S MONTHLY REPORT IN RESPONSE TO PTO
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        Case 3:16-md-02741-VC Document 18461 Filed 05/31/24 Page 3 of 3



 1                                  CERTIFICATE OF SERVICE

 2
            I certify that on the 31st day of May 2024, I electronically transmitted the foregoing
 3
     document to the Clerk of the court using the ECF system for filing and transmittal of a true and
 4
     correct copy of the foregoing document was served electronically or by another manner as
 5
     authorized by FED. R. CIV. P. 5.
 6

 7
                                                       /s/Jennise W. Stubbs
 8                                                     Jennise W. Stubbs

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            MONSANTO COMPANY’S MONTHLY REPORT IN RESPONSE TO PTO
        NO. 183 RE NON-COMPLIANT LAWSUIT DIRECTLY FILED IN THIS DISTRICT
                         3:16-md-02741-VC & 3:24-cv-02055-VC
